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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

     UNITED STATES OF AMERICA

     v.                                                    Case No. 8:14-cr-64-T-17TGW

     YOEL EMILIO BAEZ-HERNANDEZ

              FORFEITURE MONEY JUDGMENT AND PRELIMINARY
          ORDER OF FORFEITURE FOR DIRECT AND SUBSTITUTE ASSETS

             THIS CAUSE comes before the Court upon the United States' Motion

     (Doc.    ) for:

             (1)       A Preliminary Order of Forfeiture for J & E Adventure, Inc. d/b/a
                       LeJune Liquors, including but not limited to the company’s
                       equipment, inventory, and liquor license (Number BEV2300101);

             (2)       A Forfeiture Money Judgment in the amount of $730,000.00;

             (3)       A Preliminary Order of Forfeiture for the following substitute assets in
                       partial satisfaction of the defendant’s $730,000.00 forfeiture money
                       judgment:

                       a.     A 2001 Pleasure Outboard Fiberglass Vessel, Hull
                              Number: CBA040WW101, Registration Number: FL1869PM,
                              registered to LeJune Liquors;

                       b.     A homemade private trailer, Vehicle Identification Number:
                              NOVIN0200993751, Florida Tag No. 113YDQ, registered to
                              LeJune Liquors; and

                       c.     A 2006 BMW, white, Vehicle Identification Number:
                              WBANE53536CK90380, Florida Tag No. 420XDJ, registered
                              to LeJune Liquors.

             Being fully advised of the relevant facts, the Court finds that the J & E

     Adventure, Inc. d/b/a LeJune Liquors, is property directly traceable to proceeds of

     the conspiracy to which the defendant pled guilty.
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            The Court finds that that the conspiracy to which the defendant pled guilty

     generated proceeds of $730,000.00.

            The Court further finds that the United States is entitled to forfeit the

     substitute assets identified above, in partial satisfaction of the defendant’s

     Forfeiture Money Judgment.

            Accordingly, it is hereby:

            ORDERED, ADJUDGED, and DECREED that for good cause shown, the

     United States’ motion is GRANTED.

            It is FURTHER ORDERED that, pursuant to 8 U.S.C. § 1324(b), 18 U.S.C.

     § 982(a)(6), 28 U.S.C. § 2461(c), and Rule 32.2(b)(2) of the Federal Rules of

     Criminal Procedure, J & E Adventure, Inc. d/b/a LeJune Liquors, is forfeited to the

     United States for disposition according to law.

            It is FURTHER ORDERED that, pursuant to 8 U.S.C. § 1324(b), 18 U.S.C.

     § 982(a)(6), 28 U.S.C. § 2461(c), and Rule 32.2(b)(2), the defendant is liable fora

     forfeiture money judgment in the amount of $730,000.00. The defendant is jointly

     and severally liable for the money judgment with co-defendants Jasmine

     Santos-Martinez, Carlos Velazquez-Roman, Edel Mesa-Hernandez, and with

     co-defendant Mario Emilio Tamayo-Mejias for up to $50,000.00.

            It is FURTHER ORDERED that, pursuant to 21 U.S.C. § 853(p), as

     incorporated by 18 U.S.C. § 982(b)(1), and Rule 32.2(e)(1)(B), the substitute

     assets, identified above, are forfeited to the United States for disposition according


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     to law, in partial satisfaction of the defendant’s $730,000.00 forfeiture money

     judgment. The net proceeds from the substitute assets will go toward satisfaction

     of the defendant’s Forfeiture Money Judgment.

            It is FURTHER ORDERED that this order shall become a final order of

     forfeiture as to the defendant at sentencing.

            The Court retains jurisdiction to address any third party claim that may be

     asserted in these proceedings, to enter any further order necessary for the

     forfeiture and disposition of such property, and to order any other substitute assets

     forfeited to the United States up to the amount of the forfeituremoney judgment.

            DONE and ORDERED in Tampa, Florida, this           ^        day of

     September, 2016.




     Counsel of Record
